                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION
                                 Case No. 7:23-cv-897

IN RE:                                        )
                                              )
CAMP LEJEUNE WATER LITIGATION                 )             NOTICE IN RESPONSE
                                              )         TO THE COURT’S SETTLMENT
This Document Relates To:                     )       MASTERS ENGAGEMENT ORDER OF
ALL CASES                                     )               AUGUST 6, 2024
                                              )



         The United States respectfully provides this Notice in Response to the Court’s Settlement

Masters Engagement Order of August 6, 2024. D.E. 268. Since the entry of the Order, the United

States and the Settlement Masters have continued to engage in constructive conversations, and the

United States has addressed a significant number of the Settlement Masters’ concerns, moving the

United States and the Settlement Masters closer to an agreement that will allow the United States

to pay for the Settlement Masters’ work. The United States is eager to start working with the

Settlement Masters but is mindful that the Court stated that the Settlement Masters’ appointment

is “conditioned on the PLG and the Defendant entering into contracts for the payment of Mr.

Perrelli and Mr. Oprison as Settlement Masters.” D.E. 251 at 1.

         The most significant remaining issue involves ensuring the protection of government

information, which is of paramount importance to the United States particularly where it concerns

personally identifiable information that is in the United States’ possession. The United States and

the Settlement Masters are in continued discussions regarding how to address this issue and are

optimistic that they can reach an accommodation very soon. Communications between the

Settlement Masters and the United States have referenced the language in the Court’s appointment

order stating that “[t]o the extent that the Settlement Masters and their associates need to access

                                                  1

           Case 7:23-cv-00897-RJ Document 274 Filed 08/12/24 Page 1 of 3
Department of Justice data, the Settlement Masters shall use equipment provided by the

Department of Justice to secure access. The Settlement Masters shall follow the standard

Department of Justice rules of behavior for this equipment.” D.E. 251 at 6. The Settlement

Masters and the United States are continuing to address the types of litigation information that

would require the use of Department of Justice equipment.



Dated: August 12, 2024                      Sincerely,

                                            BRIAN M. BOYNTON
                                            Principal Deputy Assistant Attorney General
                                            Civil Division

                                            J. PATRICK GLYNN
                                            Director, Torts Branch

                                            BRIDGET BAILEY LIPSCOMB
                                            Assistant Director


                                            _s/ Adam Bain ________
                                            ADAM BAIN
                                            IN Bar No. 11134-49
                                            Special Litigation Counsel, Torts Branch
                                            Environmental Torts Litigation Section
                                            U.S. Department of Justice
                                            P.O. Box 340, Ben Franklin Station
                                            Washington, D.C. 20044
                                            E-mail: adam.bain@usdoj.gov
                                            Telephone: (202) 616-4209
                                            Fax: (202) 616-4473




                                               2

         Case 7:23-cv-00897-RJ Document 274 Filed 08/12/24 Page 2 of 3
                               CERTIFICATE OF SERVICE


       I hereby certify that on August 12, 2024, the foregoing was served on counsel of record via

electronic mail.

                                                _/s/ Adam Bain     _______
                                            ADAM BAIN
                                            Special Litigation Counsel, Torts Branch
                                            Environmental Torts Litigation Section
                                            U.S. Department of Justice




                                                3

          Case 7:23-cv-00897-RJ Document 274 Filed 08/12/24 Page 3 of 3
